  

“Case 2:16-mj-30230-DUTY ECF No. 1, PagelD.1 Filed 05/19/16 Page 1 of 10
. AUSA: April N. Russo . Telephone: 313-226-8129 | 0

. : . Special Agent “» Adam Christensen Telephone: 313-965-2323
AO 91 (Rev. 08/09) Criminal Complaint . :

 

UNITED STATES DISTRICT COURT
for the me
Eastern District of Michigan

United States of America, nn eee co ee No

Plaintiff, .
v. . Judge: Unassigned,
BANTLY G. NICART . Filed: 05-19-2016 At 09:29 AM
CMP USA V DANTLY NICART (BG)
Defendant(s).

 

CRIMINAL COMPLAINT

 

I, the complainant in this case, state that the following is true to the best of my knowledge and belief:

 

 

 

’ On or about the date(s) of 2013- present : , in the county-of Oakland County and elsewhere
in the Eastern District of Michigan , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. §§225 1(a) and (e) and 2252A(g)(2) and 2422 and Producing, attempting to produce,.conspiracy to produce child
2252A(a)(5)(B) and (b)(2); 18 USC 2252A(a)(2)(A) and (b)(1) pornography; participating in a child pornography criminal

enterprise; coercion and enticement;.access with intent to view and
possession and conspiracy to access. child pornography; attempt to
receive and distribute, conspiracy to receive and distribute, and
distribution and receipt of child pornography

This criminal complaint is based on these facts:

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Continued on the attached sheet. we Lo ei
CO Oe”

 

 

Complainant’s signature

Special Agent Adam Christenson, E.B.I
Printed name and title

Sworn to before me and signed in my presence.

Date: May 19, 2016 Mik CHld

Judge's signature

 

City and state: Detroit, Michigan. Hon. Elizabeth Stafford, U.S. Magistrate Judge
Prinied name and title

 
 

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AFFIDAVIT IN SUPPORT OF APPLICATION FOR COMPLAIN T AND
ARREST WARRANT |
Ie INTRODUCTION

[Adam Christensen, having been first duly sworn, do hereby depose and
state as follows: a

i. I have been employed as a Special Agent of the FBI since 2010, and
am currently assigned to the Detroit Division. While employed by the FBI, I have
investigated federal criminal violations related to child exploitation, and child
pornography. I have gained experience through training and everyday work
relating to conducting these types of investigations. I have received training in the
area of child pornography and child exploitation, and have had the opportunity to
observe and review numerous examples of child pornography (as defined in 18
U.S.C. § 2256) in all forms of media including computer media. Moreover, I am a
.. federal law enforcement officer who is engaged in enforcing the criminal laws,
including 18 U.S.C. 8§ 2251 and 2252A, and I am authorized by the Attorney
General to request an arrest warrant.
2. This affidavit is made in support of an application for a criminal

complaint and arrest warrant for DANTLY G. NICART for violations of 18 U.S.C.

§ 2251(a) and (e) (producing, attempting to produce, and conspiracy to produce

 
 

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child pornography); 18 USC. § 2252A(a\2)(A) and (b)(1) (receipt and
distribution of, conspiracy to receive and distribute, and attempt to receive and
distribute child pornography);.18 U.S.C. § 3952A(a\(5\(B) and (b)(2) (possession

of, knowing access, conspiracy to access, or attempted access with intent to view

child pornography); 18 U.S.C. § 2422 (coercion and enticement): and 8

. 2252A(2)(2) (participating in a child pornography enterprise).

3. The statements contained in this affidavit are based in part on:
information provided by FBI Special Agents; written reports about this and other
investigations that I have received, directly or indirectly, from other law
enforcement agents, information gathered from the service of administrative
subpoenas; the results of physical and electronic surveillance conducted by law
enforcement agents; independent investigation and analysis by FBI agents/analysts
and computer forensic professionals; and my experience, training and background
as a Special Agent (SA). with the FBI. Because this affidavit is being submitted for
the limited purpose of securing authorization for the requested arrest warrant, I
have not included each and every fact known to me concerning this investigation.
Instead, I have set forth only the facts that I believe are necessary to establish the
necessary probable cause that NICART has violated Title 18 U.S.C. §$ 2251(a)

and (e), 2252A(a\(2\(A) and (b\(1), 2252A(a)(S)(B) and (b)(2), 2422 and

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2252A(g)(2).
ir. BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE
4. On November 16, 2015, the FBI encountered 4 subject (S1) in the
Eastern District of Michigan. S1 was in possession of child pornography, and has’ -
been arrested and charged in the Eastern District of Michigan. for child
‘pornography crimes. Both prior to and following his arrest, 51 consented to being
“interviewed by law enforcement agents. During the interviews, SI admitted to
- accessing child pornography. Si also informed agents that he was a member of a
group of individuals that uses the internet to entice minors to engage in sexually
explicit conduct via web camera. S1 resided in the Eastern District of Michigan
during the commission of the above-listed crimes.

5. Both prior to and following his arrest, Sl consented to being
interviewed by law enforcement agents, and provided the following information,
which has been corroborated by the FBI investigation:

a. A group of individuals, acting in concert, used the internet to entice

minors to engage in sexually explicit conduct via web camera. The
members of this group primarily operated. by convincing minor

females to visit chat rooms on a specific website. (This website is now

known to law enforcement and will hereinafter be referred to as

 

 
 

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“Website A”.) In order to communicate with each other, the group —
-. members use base chatrooms on Website A. ~

The group members organize and plan in these base chatrooms, and

then create other chatrooms on Website A for the girls to go to. Once

the girls arrive in the chatrooms, group members work together to

convince them to perform various sexual acts on camera. Everyone

present in the chatroom has the ability to watch the girls engaged in

~ these acts, and the group members record the girls. Some of the group

members distribute the recordings to other people.

Each group member has a different role. There are “hunters,”

“talkers,” “loopers,” and “watchers.” The “hunters” visit social media

“websites commonly used by their minor victims to interact with the

- minors. They are in charge of convincing them to log-on to Website

A. They provide the girls with a link to a specific chatroom that they

or another group member creates on Website A.’ Once the minors

log-on to Website A, the “talkers” take over the primary job. of

conversing with them. They ask the minors to do. ‘dares’ which

 

 

© The hunters often will convince the minor females they interact with to give them their contact’
information on social media applications like Kik, Instagram, or Skype. Their goal is to chat
privately with the girls so that they can avoid posting links to Website A on public websites.

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escalate into sexual activity. Ifa minor is suspicious of the members
in the chatroom or reluctant to engage in sexual activity, a “looper”
plays a previously recorded video of a minor actively chatting and
performing sexual acts in a chatroom. The “looper” pretends to be the
minor in the video. The “looper” plays the video or “loop” of a minor
engaged in sexual activity in order to entice the minor in- the chatroom
to follow. suit. Finally, “watchers” are in charge of security. They
watch the users coming and going from the chatroom to make sure
that no suspected law enforcement members or other unwanted
persons access the room. In general, according to Sl, all of the
members who are present in the room capture, or ‘capped’ the video
stream. of the minor being enticed, particularly if child pornography is
being produced. To “cap” something is to record it.
6. Several members of the group have been identified. One member of the
group, “User Ty”? worked with this particular group of individuals to accomplish
the common objective of getting minor females to engage in sexual activity online
and on camera. User T was both a “talker” and a “looper” for the group. He

would talk to minor females on social media and on Website A in order to entice

 

* The true username is known to law enforcement but not revealed in order to protect an ongoing
’ investigation.

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them to perform sexual acts via web camera.. He would also play videos of a
teenage boy, pretending to be that teenage-boy, in order to convince minor females

to engage in sexual activity via web camera. In online conversations with the other

group members, User T referred to child pornography he had previously been a

part of creating through the enticement of minor females. User T and others used
the smartphone application Kik to communicate with each other and with minor

females online. According to another group member (S2), the Kik username

utilized by User T was XXXXXXXX...Law enforcement obtained copies of

several Kik conversations between XXXXXXXX and other group members from
S2’s computer. In the conversations, XXXXOCXXX refers to minor victims on

Website A and chats with other group members on Website A.

7. Kik was subpoenaed for subscriber information regarding the username

XXXEKXXXX on April 28, 2016 and responded on April 29, 2016. Kik provided
the log-in information for the account from March 31, 2016 through April 29,
2016. The email address associated ‘with the account was
benguzman1990@gmail.com. There were two IP addresses that were utilized to
log in to the account multiple times between April 2, 2016 and April 29, 2016.

The most frequent IP address was 70.173.200.235 which was the only IP address

 

5 The true Kik username is known to law enforcement but not revealed in order to protect an ongoing
investigation. The username is another identified person’s actual.name, and itis believed that NICART
may have been using this individual’s persona in order to evade detection by iaw enforcement.

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Fede :

NICART. Dante Nicart, Sr. identified a USB adaptor with micro SD memory card

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utilized to log in to the account from April 7, 2016 to April 29, 2016. All of the IP

addresses were determined to belong to Cox Communications.

8. On May 2, 2016, Cox Communications was subpoenaed for the subscriber

information for the above described IP addresses. Cox Communications responded
on May 2, 2016 and provided the address of the subscriber as 2X XX Arville
Street, Apartment XX, Las Vegas, NV 89102. Cox Communication initiated
service at that address on April 2, 2016. The IP history logs for the account
indicated that the IP addresses had been assigned as follows: 70.173.196.156 from
April 2, 2016 to April 6, 2016 and 70.173.200.235 from April 6, 2016 to May 3,
2016. These date ranges are consistent with the IP information and log-in
information provided by Kik.
Search Warrant Execution

9. On May 18, 2016, a federal search warrant authorized in the District of
Nevada was executed at the residence of DANTLY G. NICART (DOB
10/XX/1978), 2XXX Arville Street, Apartment XX, Las Vegas, Nevada 89102.
Dante Nicart, Sr. was present during the execution of the warrant. Dante Nicart,.
Sr. voluntarily spoke with the agents and task force officers and stated that he

resided in the residence with two of his sons, Dante Nicart, Jr. and DANTLY
 

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(further identified as a San Disk 64 GB Micro SD Card with no visible serial
number) (hereinafter referred to as the “SD Card”), which. was recovered from
DANTLY NICART’s bedroom, as belonging to DANTLY NICART. Dante
Nicart, Sr. further stated that DANTLY NICART spends a lot of time on the
computer.

10. Agents and Task Force Officers located DANTLY NICART at his place of
employment. DANTLY NICART was read his Miranda Rights, waived those
rights and voluntarily agreed to speak with the agents and Task force Officers.
DANTLY NICART stated that he had frequented Ww ebsite A. He admitted that he
uses the username “User T” on Website A. He stated that he utilized a tablet
computer to access Website A which was located at his residence. DANTLY
NICART stated that he has looked at child pornography and believes child
pornography is of anyone under the age of 18. Subsequent to these statements,
DANTLY NICART invoked his right to have an attorney present, and the
interview was terminated.

ll. Law enforcement recovered multiple tablet computers, a laptop computer,
and other electronic storage devices from DANTLY NICART’s residence. Law
enforcement conducted a forensic preview of the aforementioned SD card and

located three videos that appeared to be child pornography. These videos were

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consistent with other videos recovered by law enforcement of minors producing —
child pornography via web camera on Website A.

- CONCLUSION
12. Based on the foregoing, there is probable cause to believe NICART has
produced, attempted to produce and conspired to produce child pornography in
violation of 18 U.S.C. § 2251(a) and (e); has been in the receipt or distribution,
been a part of a conspiracy to receive and distribute and has attempted to receive
and distribute child pornography in violation of 18 ULS.C. § 2252A(a\@2\A) and
(b)\(1); has been in the possession, knowing access, conspiracy to access and
attempted to access with intent to view child pornography in violation of 18 U.S.C,
§ 2252A(a)(5)(B) and (b)(2); has coerced and enticed a minor in violation of 18
U.S.C. § 2422; and has participated in a child pornography enterprise in violation

of 18 U.S.C. § 2252A(g)(2).

 

Special Agent Adam Christensen
Federal Bureau of Investigation

Sworn to me this 19th day of May

Elizabeth A. Stafford
United States Magistrate Judge

 
